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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,

                Plaintiff,                           No. 1:25-cv-00168-GBW
           v.

 KPLER HOLDING SA,

                Defendant.

                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on March 14, 2025, true and correct copies of (i)

Defendant Kpler Holding SA’s First Set of Interrogatories to Plaintiff (Nos. 1-5), (ii) Defendant

Kpler Holding SA’s Requests for Admission, and (iii) Defendant’s First Set of Requests for

Production of Documents to Plaintiff were served on the following counsel via electronic mail:

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Dated: March 14, 2025




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